                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

TENNESSEE STATE CONFERENCE OF THE,        )
N.A.A.C.P., ET AL.,                       )
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )     Civil No. 3:19-cv-00365
                                          )     Judge Trauger
TRE HARGETT, ET AL.,                      )
                                          )
      Defendants.                         )
____________________________________________________________________________

LEAGUE OF WOMEN VOTERS OF                             )
TENNESSEE, ET AL.,                                    )
                                                      )
       Plaintiffs,                                    )
                                                      )
v.                                                    )       Civil No. 3:19-cv-00385
                                                      )       Judge Trauger
TRE HARGETT, ET AL.,                                  )
                                                      )
       Defendants.                                    )


                                ORDER OF CONSOLIDATION

       It is hereby ORDERED that these cases are CONSOLIDATED for all purposes, including

trial. Separate dispositive motion briefing will take place, despite the consolidation.

       All filings shall be made, pursuant to this court’s standard practice, under the earlier case

number, 3:19-cv-365.

       It is so ORDERED.

       ENTER this 4th day of November 2019.



                                                      ________________________________
                                                      ALETA A. TRAUGER
                                                      U.S. District Judge




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